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                         In the United States District Court
                              for the District of Kansas
______________________________________________________________________________
United States of America,

                     Plaintiff,
v.                                                   Case No. 21-10043-01 EFM
Paul Gordon,
                     Defendant.
______________________________________________________________________________
                          Sentencing Memorandum
______________________________________________________________________________
     Paul Gordon, through undersigned counsel, asks the Court to follow the parties’

jointly recommended guideline sentence. The PSR correctly calculates a total

offense level of 23 and criminal history category VI for a guideline range of 92 to 115

months. The parties have resolved all relevant factual and legal issues by

agreement and ask the Court to impose the following:


      92 months in prison

      3 years’ supervised release

      restitution of $460

      no fine

      $100 special assessment

      order this sentence to be served concurrently with pending Missouri state
revocation sentences.1


1The concurrent recommendation is offered under Fed. R. Crim. P. 11(c)(1)(C). PSR
¶ 60 & 61; Doc. 42 at 2 (binding agreement to concurrent sentences with State of
Missouri Polk County cases 19PO-CR818-003 and 19PO-CR-1048).
                                                                                       1
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     This sentence comports with 18 USC § 3553(a)’s mandate to impose a sentence

sufficient but not greater than necessary.2 Below, Mr. Gordon reviews the relevant

statutory factors.


     1. 3553(a)(1): The offense


     This bank robbery involved a serious threat, but no actual weapon. Mr. Gordon

was arrested the same day after a police pursuit and has been in custody since that

time.3 He in no way intends to minimize the lasting impact on or risk to the people

involved and will address this in his allocution. Here, he only notes that the

guideline range already accounts for both the threat (two-level increase under

§ 2B3.1(b)(2)(F))4 and the circumstances of his arrest (two-level increase under

§ 3C1.2).5


     2. § 3553 (a)(1) and (2): Mr. Gordon’s history and characteristics,
        deterrence, and rehabilitation
     The proposed 92 months in prison is a substantial prison sentence for a crime

that is not characteristic of Mr. Gordon. In his lengthy criminal history, with which




2Tapia v. United States, 564 U.S. 319, 321 (2011) (sentence should justly punish,
deter, secure public safety, and rehabilitate).

3Mr. Gordon was writted from Montgomery County, Kansas into federal custody.
Doc. 5. Since then, the Montgomery County cases have been dismissed. The parties
anticipate that the time Mr. Gordon has been in custody since May 5, 2021, will be
credited toward his federal sentence.

4   PSR ¶ 29.

5   PSR ¶ 32.
                                                                                      2
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he does not quibble, he has no violent felony convictions. Most are property-related

offenses, such as theft or burglary.6 The proposed sentence here far exceeds the

duration of any prior imprisonment, which appears to be about four years.7 Most

obvious from his criminal history is the Missouri state revolving prison door with

repeated failures on supervision, no doubt driven by his addiction. He hopes that

the structure and resources of federal supervision result in a more successful

outcome.


    The common denominator between this offense and past offenses is an

unrelenting drug addiction that has endured since his adolescence.8 From previous

cases, this Court is all too familiar with the intersection of addiction and

criminality, as well as the profound and destructive power that illicit drugs can hold

over an addict’s life. In the days before this offense, Mr. Gordon reports a sleepless

drug binge alternating heroin, methamphetamine, and ADHD medication,

culminating in the robbery and police chase. This is corroborated by an April 29,

2021, Missouri probation positive drug test for amphetamines and THC;9 his 2021



6PSR ¶ 51 (municipal stealing conviction). We also note that the under Adult
Criminal Conviction, the PSR lists several driving or traffic violations, none of
which score in criminal history. See PSR ¶ ¶ 46, 47, 48, 56, 59.

7See, e.g., PSR § 52 & 53 (7-year state sentence was satisfied with approximately
49 months in prison).

8PSR ¶ 94-103 (he began using drugs at 13 years old); see PSR ¶ 42 & 44 (drug
paraphernalia charges).

9Missouri Dept. of Corrections Board of Probation and Parole Field Violation
Report at 3, dated May 12, 2021.
                                                                                         3
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diagnoses of opioid addiction;10 and the replete references in the PSR to his drug

abuse. Mr. Gordon now knows that he will “need substance abuse treatment for the

rest of his life.”11 Mr. Gordon does not recount his drug use in pursuit of any

extraordinary mercy, only to offer explanation, admission, and to suggest the

parties’ agreed recommendation is appropriate.


     On the positive side, Mr. Gordon has a 13-year-old daughter who he adores.

They talk often, and he has been giving much thought to how he can be a better

father from prison over the next years, as she will become an adult before his

release. As for his other family, Mr. Gordon’s mother died in January 2019 and his

father, with whom he had worked in the roofing business, died November 24, 2020,

just six months before this offense. These losses deeply affected Mr. Gordon.


     Mr. Gordon remains close with his brother Will Gordon, who is a primary source

of support for his brother. We request that the Court recommend to BOP that Paul

Gordon be placed at Springfield MCFP, near his remaining family. There, Mr.

Gordon hopes to be on work detail and to take advantage of vocational training so

that he has a trade when he is released. This facility also offers drug abuse

treatment and other rehabilitative programs.




10PSR ¶ 102 (Opioid Use Disorder, Stimulant Disorder, Amphetamine Type; and
Cannabis Use Disorder, all Moderate/ Severe.)

11   PSR ¶ 29.
                                                                                     4
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      3. § 3553(a)(6): avoiding unwarranted disparity


      For 2021, the national median sentence length for robbery was 90 months and

the median length of imprisonment was 93 months. The proposed 92-month

sentence will avoid unwarranted disparity among robbery cases and promote

uniformity in sentencing encouraged by Congress.12


      4. § 3553(a)(7): Restitution


      Mr. Gordon has agreed to make full restitution of $460. He asks the Court to

waive any interest that would accrue while he is incarcerated.


      5. Conditions of supervised release


      Mr. Gordon does not object to either the mandatory or standard condition of

supervised release. He does object to two categories of special supervised release

conditions. The first category is the financial restrictions outlined in PSR

paragraphs 129 & 130. This is an offense born of substance abuse, not financial

woes. The strict oversight suggested by the PSR is not justified under 18 U.S.C.

§ 3583(d).13 Given the government’s concurrence with the PSR’s response (para. 147

through 151) and the parties’ effort to reach agreement where possible, Mr. Gordon

offers a compromise: these restrictions should only apply until he has satisfied the


12   USSC, 2021 Sourcebook of Federal Sentencing Statistics, Table 15.

13 United States v. Martinez-Torres, 795 F.3d 1233, 1237 (10th Cir. 2015) (“When,
however, neither the Sentencing Commission nor Congress has required or
recommended a condition, we expect the sentencing court to provide a reasoned
basis for applying the condition to the specific defendant before the court.”).

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$460 restitution and the $100 special assessment. Once that has been paid in full,

the conditions are not statutorily warranted.


     Mr. Gordon also objects to the financial responsibility imposed on him to pay for

USPO services, as set forth in paragraph 128, 131, & 132. He has been determined

by the Court to be indigent and should not bear the cost of supervision. Again,

however, he offers a solution: having registered his objection,14 his indigency and

ability to pay should be evaluated upon his release rather than attempt to forecast

them at sentencing.


     6. Conclusion


        Mr. Gordon asks the Court to follow the parties’ joint recommendations.


                                         Respectfully submitted,


                                         s/Melody Brannon
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14 The Tenth Circuit has been less that pellucid on the required timing of supervised
release objections. United States v. Cohee, 716 F. App'x 752, 754 (10th Cir. 2017)
and United States v. Ford, 882 F.3d 1279, 1286 (10th Cir. 2018) (“When a condition
of supervised release is, by its own terms, contingent on the decision of a different
actor, that condition is not ripe for immediate review.”). Mr. Gordon makes this
objection now out of an abundance of caution.




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                           CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2022, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system, which will send a notice
of electronic filing to the following:

      Molly Gordon
      Assistant U.S. Attorney
      Molly.Gordon@usdoj.gov

                                        s/Melody Brannon
                                        MELODY BRANNON, Sup. Ct. No. 17612




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